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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x

United States,


       -against-                                                 ORDER

                                                           Docket No. 18 CR 00581 (K.MK)
Spyros Panos,

                           Defendant.

------------------------------------------------------x


KARAS, U.S. DISTRICT JUDGE:


         Daniel Hochheiser, Esq., is to assume representation of the defendant in the above

captioned matter as of November 9, 2020. Mr. Hochheiser is appointed pursuant to the Criminal

Justice Act. His address is 2 Overhill Road, Suite 400, Scarsdale, NY 10583, phone number

(646) 863-4246; Email: dah@hochheiser.com




                                                      KENNETH . KARAS
                                                      UNITED STATES DISTRICT JUDGE


Dated: White Plains, New York
       November 9, 2020
